Case 1:22-cv-10016-LAK Document 175 Filey

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

~against-

DONALD J. TRUMP,

Defendant.

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22-cv-10016 (LAK)

ORDER UNSEALING CERTAIN MATTERS

LEWIS A. KAPLAN, District Judge.

Docket items 161 through 163 and 167, and all sealed portions of the trial transcript,
are unsealed. The Clerk shall unrestrict remote public access to docket items 161 through 163 and
167. The formerly sealed portions of the trial transcript shall be publicly available under the usual

rules and procedures applicable to trial transcripts.
SO ORDERED.

Dated: May 10, 2023

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Lewis Nye

United States District Judge

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